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1         CENTER FOR DISABILITY ACCESS
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7
8
                           UNITED STATES DISTRICT COURT
9                         NORTHERN DISTRICT OF CALIFORNIA
10
11       Andres Gomez,                          Case No.

12               Plaintiff,
                                                Complaint for Damages and
13         v.                                   Injunctive Relief for Violations
                                                of: American’s With Disabilities
14       Monticello Cellars, Inc., a            Act; Unruh Civil Rights Act
         California Corporation;                NOT RELATING TO A
15
                                                CONSTRUCTION-RELATED
                 Defendants.                    BARRIER AS DEFINED IN CAL.
16
                                                CIV. CODE § 55.3
17
18
         Plaintiff Andres Gomez (“Plaintiff”) complains of Monticello Cellars, Inc.,
19
     a California Corporation (“Defendants”), and alleges as follows:
20
         PARTIES:
21
         1. Plaintiff is a visually-impaired individual and a member of a protected
22
     class of persons under the Americans with Disabilities Act. Plaintiff Talkback
23
     or similar software to navigate websites and applications on electronic devices.
24
     Plaintiff is legally blind1 and cannot use an electronic device without
25
26   1
      Plaintiff uses the terms “visually-impaired” or “blind” interchangeably to
27   refer to individuals, including himself, who meet the legal definition of
28   blindness. (visual acuity of 20/200 or worse.) Some individuals who meet
     these criteria have no vision, others have limited vision.

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1    assistance of screen-reader software (“SRS”)
2      2. Defendant Monticello Cellars, Inc. (“Monticello Cellars, Inc.”) owned
3    or operated Corley Family Napa Valley Monticello Vineyards located in Napa
4    County, California, in March 2021 and August 2021.
5      3. Defendant Monticello Cellars, Inc. owns or operates Corley Family
6    Napa Valley Monticello Vineyards located in Napa County, California,
7    currently.
8      4. Defendant Monticello Cellars, Inc. owned or operated Corley Family
9    Napa Valley Monticello Vineyards website, with a root domain of:
10   https://www.corleyfamilynapavalley.com/ and all related domains, sub-
11   domains and/or content contained within it, (“Website”) in March 2021 and
12   August 2021.
13     5. Defendant Monticello Cellars, Inc. owns or operates Corley Family
14   Napa Valley Monticello Vineyards Website currently.
15     6. Plaintiff does not know the true names of Defendants, their business
16   capacities, their ownership connection to the property and business, or their
17   relative responsibilities in causing the access violations herein complained of
18   and alleges a joint venture and common enterprise by all such Defendants.
19   Plaintiff is informed and believes that each of the Defendants herein, is
20   responsible in some capacity for the events herein alleged or is a necessary
21   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
22   the true names, capacities, connections, and responsibilities of the Defendants
23   are ascertained.
24
25     JURISDICTION & VENUE:
26     7. The Court has subject matter jurisdiction over the action pursuant to 28
27   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
28   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (“ADA”)


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1      8. This court has supplemental jurisdiction over Plaintiff’s non-federal
2    claims pursuant to 28 U.S.C. § 1367 because Plaintiff’s Unruh claims are
3    formed from the same case and/or controversy and are related to Plaintiff’s
4    ADA claims. A violation of the ADA is a violation of Unruh. (Cal. Code §51(f).
5      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b). Defendant
6    is subject to personal jurisdiction in this District due to its business contacts
7    with the District, and a substantial portion of the complained of conduct
8    occurred in this District.
9
10     FACTUAL ALLEGATIONS:
11     10. Plaintiff is a legally blind person and a member of a protected class
12   under the ADA. Plaintiff is proficient with and uses SRS to access the internet
13   and read internet content on electronic devices.
14     11. Plaintiff cannot use an electronic device without the assistance of
15   screen reader software. (“SRS”).
16     12. Monticello Cellars, Inc. operates privileges, goods or services out of a
17   physical location in California. These services are open to the public, places of
18   public accommodation, and business establishments.
19     13. The Website is a nexus between Monticello Cellars, Inc.’s customers,
20   and the terrestrial based privileges, goods or services offered by Monticello
21   Cellars, Inc.
22     14. Monticello Cellars, Inc. offers websites and digital booking as some of
23   the facilities, privileges, and advantages offered by Defendants to patrons of
24   Monticello Cellars, Inc. in connection with their patronage at Monticello
25   Cellars, Inc.
26     15. Among the services offered include: details about the wines and
27   Monticello Cellars, Inc. itself, location and contact information; Monticello
28   Cellars, Inc. policies; information about wine on sale, deals and promotions


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1    without any ambiguity as to the amenities that would be available to the
2    patron.
3      16. Plaintiff was a prospective customer who wished to access Defendant’s
4    goods and services of Monticello Cellars, Inc.
5      17. Plaintiff visited the Website in March 2021 and August 2021 with the
6    intent get information about wines sold at the winery and wine tasting tours.
7      18. When Plaintiff attempted to navigate the Website, Plaintiff encountered
8    numerous accessibility design faults that prevented him from navigating the
9    site successfully using SRS. Investigation into his experience revealed barriers,
10   including, but not limited to:
11                   a. Images on the website lack a text equivalent readable by
12                       SRS.
13                   b. The website contains form elements that are not identified
14                       with functional text readable by SRS.
15                   c. The visualization of the webpage contains impermissibly
16                       low contrast enabling differentiation of background and
17                       foreground elements.
18     19. These inaccessible elements rendered the ostensibly “accessible”
19   elements inaccessible as a result of difficulty and confusion navigating the
20   numerous inaccessible elements.
21     20. Currently, the defendants either fail to provide an accessible website or
22   Defendants have failed to maintain in working and useable conditions those
23   website features required to provide ready access to persons with disabilities.
24     21. Despite multiple attempts to access the Website using Plaintiff’s
25   electronic device, Plaintiff has been denied the full use and enjoyment of the
26   facilities, goods and services offered by Defendants as a result of the
27   accessibility barriers on the Website.
28     22. Plaintiff personally encountered accessibility barriers and has actual


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1    knowledge of them.
2      23. By failing to provide an accessible website, the defendants denied
3    Plaintiff full and equal access to the facilities privileges or advantages offered
4    to their customers.
5      24. Plaintiff has been deterred from returning to the Website as a result of
6    these prior experiences.
7      25. The failure to provide accessible facilities created difficulty and
8    discomfort for the Plaintiff.
9      26. If the website had been constructed equally accessible to all individuals,
10   Plaintiff would have been able to navigate the Website and find information on
11   houses on sale.
12     27. Additionally, Plaintiff is a tester in this litigation and seeks future
13   compliance with all federal and state laws. Plaintiff will return to the Website
14   to avail himself of its goods and/or services and to determine compliance with
15   the disability access laws once it is represented to him that Monticello Cellars,
16   Inc. and Website are accessible.
17     28. Plaintiff is currently deterred from doing so because of Plaintiff’s
18   knowledge of the existing barriers and uncertainty about the existence of yet
19   other barriers on the Website. If the barriers are not removed, Plaintiff will
20   face unlawful and discriminatory barriers again.
21     29. The barriers identified above violate easily accessible, well-established
22   industry standard guidelines for making websites accessible to people with
23   visual-impairments that use SRS to access websites. Given the prevalence of
24   websites that have implemented these standards and created accessible
25   websites, it is readily achievable to construct an accessible website without
26   undue burden on Monticello Cellars, Inc. or a fundamental alteration of the
27   purpose of the Website.
28     30. Compliance with W3C Web Content Accessibility Guidelines


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1    (“WCAG”) 2.0 AA standards are a viable remedy for these deficiencies and a
2    standard that has been adopted by California courts for website accessibility.
3      31. It’s been established that failure to remove these inaccessible conditions
4    violates the ADA and California law and requiring compliance with industry
5    access standards is a remedy available to the plaintiff.
6      32. The Website was intentionally designed, and based on information and
7    belief, it is the Defendants’ policy and practice to deny Plaintiff access to the
8    Website, and as a result, denies the goods and services that are otherwise
9    available to patrons of Monticello Cellars, Inc.
10     33. Due to the failure to construct and operate the website in line with
11   industry standards, Plaintiff has been denied equal access to Defendant’s
12   winery and the various goods, services, privileges, opportunities and benefits
13   offered to the public by Monticello Cellars, Inc.
14     34. Given the nature of the barriers and violations alleged herein, the
15   plaintiff alleges, on information and belief, that there are other violations and
16   barriers on the website, and/or at Monticello Cellars, Inc., that relate to his
17   disability. In addition to the barriers he personally encountered, Plaintiff
18   intends to seek removal of all barriers on the Website that relate to his
19   disability. See Doran v. 7-Eleven (9th Cir. 2008) 524 F.3d 1034 (holding that
20   once a plaintiff encounters one barrier, they can sue to have all barriers that
21   relate to their disability removed regardless of whether they personally
22   encountered the barrier).
23     35. Plaintiff will amend the complaint, to provide further notice regarding
24   the scope of the additional demanded remediation in the event additional
25   barriers are uncovered through discovery. However, please be on notice that
26   the plaintiff seeks to have all barriers related to his disability remedied.
27
28   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS


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1    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
2    Defendants.) (42 U.S.C. section 12101, et seq.)
3      36. Plaintiff re-pleads and incorporates by reference, as if fully set forth
4    again herein, the allegations contained in all prior paragraphs of this
5    complaint. Monticello Cellars, Inc. is a public accommodation with the
6    definition of Title III of the ADA, 42 USC § 12181.
7      37. The website provided by the Defendant is a service, privilege or
8    advantage and extension of Monticello Cellars, Inc. physical presence and
9    terrestrial services.
10     38. When a business provides services such as a website, it must provide an
11   accessible website.
12     39. Here, an accessible website has not been provided. A failure to provide
13   an accessible website is unlawful discrimination against persons with
14   disabilities.
15     40. Under the ADA, it is an act of discrimination to fail to ensure that the
16   privileges, advantages, accommodations, facilities, goods and services of any
17   place of public accommodation is offered on a full and equal basis by anyone
18   who owns, leases, or operates a place of public accommodation. See: 42 U.S.C.
19   § 12182(a). Discrimination is defined, inter alia, as follows: “A failure to make
20   reasonable modifications in policies, practices, or procedures, when such
21   modifications are necessary to afford goods, services, facilities, privileges,
22   advantages, or accommodations to individuals with disabilities, unless the
23   accommodation would work a fundamental alteration of those services and
24   facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).”
25     41. Here, the failure to ensure that the accessible facilities were available
26   and ready to be used by the plaintiff is a violation of the law.
27     42. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
28   set forth and incorporated therein, Plaintiff requests relief as set forth below.


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1
2    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
3    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
4    Code § 51-53.)
5      43. Plaintiff repleads and incorporates by reference, as if fully set forth
6    again herein, the allegations contained in all prior paragraphs of this
7    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
8    that persons with disabilities are entitled to full and equal accommodations,
9    advantages, facilities, privileges, or services in all business establishment of
10   every kind whatsoever within the jurisdiction of the State of California. Cal.
11   Civ. Code §51(b).
12     44. The Unruh Act provides that a violation of the ADA is a violation of the
13   Unruh Act. Cal. Civ. Code § 51(f).
14     45. Defendants’ acts and omissions, as herein alleged, have violated the
15   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
16   rights to full and equal use of the accommodations, advantages, facilities,
17   privileges, or services offered.
18     46. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
19   discomfort or embarrassment for the plaintiff, the defendants are also each
20   responsible for statutory damages, i.e., a civil penalty. Cal. Civ. Code §
21   55.56(a)-(c).
22     47. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
23   set forth and incorporated therein, Plaintiff requests relief as set forth below.
24
25          PRAYER:
26          Wherefore, Plaintiff prays that this Court award damages and provide
27   relief as follows:
28


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1          1. A Declaratory Judgment that at the commencement of this action
2    Defendants were in violation of the requirements of the ADA due to
3    Defendants’ failures to take action to ensure that its Website was fully
4    accessible to and independently usable by blind and visually-impaired
5    individuals.
6          2. For equitable nominal damages for violation of civil rights. See
7    Uzuegbunam v. Preczewski, 141 S.Ct. 792 (2021) and any other equitable
8    relief the Court finds appropriate.
9          3. Pursuant to 42 U.S.C § 12181, a preliminary and permanent injunction
10   enjoining Defendants from violating the ADA with respect to its Website.
11         4. Damages under the Unruh Civil Rights Act § 512, which provides for
12   actual damages and a statutory minimum of $4,000 for each offense.
13         5. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
14   to 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
15
16   Dated: January 14, 2021             CENTER FOR DISABILITY ACCESS
17
18
19                                       By: ______________________________
20                                       Amanda Seabock, Esq.
                                         Attorney for Plaintiff
21
22
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     2
27       Note: the plaintiff is not invoking section 55 of the California Civil Code and
28   is not seeking injunctive relief under the Disabled Persons Act at all.


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     Complaint
